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September 11, 2019                                                                     Alan E. Schoenfeld
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The Honorable Raymond J. Dearie
United States District Court
  For the Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re: Schwartz v. City of New York, No. 1:19-cv-463

Dear Judge Dearie:

I write on behalf of Defendants in the above-referenced case. In the interest of keeping the Court
apprised of developments relevant to this case, I write to notify the Court of the New York City
Council’s announcement of a hearing on September 12, 2019 for a bill introduced by Council
Speaker Johnson to consider the immediate repeal of Local Law 22 of 2018, also known as
Administrative Code § 20-825, retroactive to the date of the hearing.

Information concerning the proposed repeal bill, including its text, may be found at:
https://legistar.council.nyc.gov/LegislationDetail.aspx?ID=4131680&GUID=FD897AED-F6C6-
43F1-9F26-B84AAD575AC6&Options=&Search. A copy of the published Proposed Agenda
for the Stated Meeting of the Council on September 12, 2019 is filed herewith as Exhibit A; the
introduction and reading of bills appears as the 13th agenda item on page 3, and the proposed
repeal bill is the first item on the first page of the list attached to the Proposed Agenda. See Ex.
A at 3, 5.

I will keep the Court apprised of any further developments.

Respectfully submitted,

/s/ Alan E. Schoenfeld

Alan E. Schoenfeld



Encls.

cc:      All counsel via ECF
